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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SANDOZ INC.                                 :
                                            :
      v.                                    :      CIVIL ACTION NO. 20-3538
                                            :
LANNETT COMPANY, INC.                       :


                                           ORDER


      This 4th day of November, 2021, following in camera review of documents, it is hereby

ORDERED that Plaintiff Sandoz’s Motion to Compel (ECF 95) is GRANTED in part and

DENIED in part as follows:

   1. Lannett shall produce the following documents, subject to any conditions set forth in the

      accompanying memorandum: Nos. 19, 46, 95, 143, 204, 212, 234, 235, 341, 458, 462-63,

      486, 488, 512, 515-519, 523, 618, 645, 649, 699, 729, 730, 770, 771, 778, 787, 796, 804,

      813-815, 819, 820, 829, 911, 962.

   2. Lannett shall not be required to produce the following documents: Nos. 3, 297, 357, 456,

      459-461, 503-508, 588, 622, 626, 824, 826, 877. These documents are protected either

      by the attorney-client privilege or by the common interest privilege.


                                                             /s/ Gerald Austin McHugh
                                                           United States District Judge
